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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Michael Leal,
            Plaintiff(s),                        Case No. 1:22-cv-150
                                                 (Barrett, J.; Litkovitz, M.J.)
              v.

Felicia Bedel, et al.,
            Defendant(s).

                               CALENDAR ORDER

This case shall proceed as follows:

1.    Deadline for leave to amend pleadings: November 21, 2022

2.    Deadline for disclosure of expert witnesses and submission of expert reports:
             Plaintiff identify and produce primary expert report(s): March 17, 2023
             Defendant identify and produce primary expert report(s): March 17, 2023
             Parties Disclosure and report of rebuttal experts: May 1, 2023
             Disclosure of non-expert (fact) witnesses: October 16, 2022

3.     Discovery deadline: December 16, 2022

4.     Dispositive motion deadline: January 31, 2023

5.     Hearing on Motion to Strike (doc. 40): Thurs., November 3, 2022 at 3:00 pm
       before Magistrate Judge Karen L. Litkovitz

6.     Final Pretrial Conference and Jury Trial dates will be set at a later date by Judge
       Barrett pursuant to his case management schedule.*

Date 9/21/2022
                                         Karen L. Litkovitz
                                         United States Magistrate Judge

*The specific dates will be assigned by the District Court
awh    September 21, 2022
